
















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO.
12-05-00025-CV

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN THE COURT
OF APPEALS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TWELFTH
COURT OF APPEALS DISTRICT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TYLER, TEXAS

IN THE
INTEREST OF&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; '&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL
FROM THE 

&nbsp;

B.C.C.
AND A.N.C.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; '&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COUNTY
COURT AT LAW

&nbsp;

MINOR CHILDREN&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; '&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CHEROKEE
COUNTY, TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; OPINION

Robert
C. Chapman appeals the trial court=s
order revoking his community supervision, following which he was committed to
the county jail for one hundred eighty days.&nbsp;
Chapman raises one issue on appeal.&nbsp;
We dismiss for want of jurisdiction in part and affirm in part.

&nbsp;

Background

Pursuant
to a divorce decree entered on April 21, 1995, Chapman was ordered to make
monthly child support payments.&nbsp; The
child support payments were modified by order entered on January 16, 1998.&nbsp; When Chapman subsequently failed to comply
with the order, the State filed a motion for enforcement.&nbsp; The trial court entered an order enforcing
Chapman=s child
support obligation on October 3, 2001.&nbsp;
By that same order, the court found Chapman guilty of civil contempt and
ordered him committed to the county jail, but suspended Chapman=s commitment and placed him on
community supervision until he paid the sums specified in the order.&nbsp; 








In
March 2003, the State filed another motion for enforcement of child
support.&nbsp; A hearing was conducted on the
State=s motion
in June 2003.&nbsp; By order dated June 19,
2003, the trial court found Chapman guilty of civil contempt and ordered that
he be committed to the county jail for one hundred eighty days.&nbsp; On December 18, 2003, the date Chapman=s commitment was scheduled to begin,
the trial court rescinded Chapman=s
commitment and placed him on community supervision for one hundred twenty
months.&nbsp; 

In
May 2004, the State filed another motion to revoke Chapman=s community supervision.&nbsp; On October 7, 2004, the trial court signed an
order revoking Chapman=s
community supervision and again committing him to the county jail.&nbsp; Yet, on that same day, the court signed an
order providing for Chapman=s
conditional release.&nbsp; On October 21, 2004,
the court signed an amended conditional release order requiring that Chapman,
among other things, (1) pay all regular child support due under the prior order
and (2) make all payments on child support arrears as previously ordered.

On
January 20, 2005, the trial court conducted a hearing and, finding that Chapman
had violated the conditions[1]
of his release, signed an order committing him to county jail for one hundred
eighty days.&nbsp; This appeal followed.

&nbsp;

Contempt

In
a portion of his sole issue, Chapman raises arguments concerning the propriety
of the trial court=s contempt
order.&nbsp; We lack jurisdiction to review a
contempt order on direct appeal.&nbsp; See Texas
Animal Health Comm=n
v. R.J. Nunley, 647 S.W.2d 951, 952 (Tex. 1983); see also Ex
parte Eureste, 725 S.W.2d 214, 216 (Tex. Crim. App. 1986) (AThere is no remedy or right of appeal
from an order of contempt.@).&nbsp; Thus, to the extent that it relates to the
propriety of the trial court=s
contempt order, Chapman=s
sole issue is dismissed for want of jurisdiction.

&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Revocation of Community Supervision








To
the extent that Chapman argues that the trial court improperly revoked his
community supervision, we may consider such an issue.&nbsp; See, e.g., In the Interest of A.R.M., No.
09-03-570-CV, 2004 WL 2365214, at *1 (Tex. App.BBeaumont
Oct. 21, 2004, no pet.).&nbsp; Chapman argues
that the evidence is insufficient to support the trial court=s findings that he violated the terms
of his conditional release.[2]&nbsp; 

Where
an eligible party has filed a motion to revoke community supervision, after a
hearing, the court may continue, modify, or revoke the community
supervision.&nbsp; See Tex. Fam. Code Ann. '' 157.214, 157.216 (Vernon 2002).&nbsp; The only question presented in an appeal from
an order revoking community supervision is whether the trial court abused its
discretion in revoking the defendant=s
community supervision.&nbsp; See Lloyd
v. State, 574 S.W.2d 159, 160 (Tex. Crim. App. [Panel Op.] 1978).&nbsp; The standard of proof in a revocation
proceeding is a preponderance of the evidence.&nbsp;
Id.&nbsp; In order to
satisfy its burden of proof, the State must prove that the greater weight of
the credible evidence before the trial court creates a reasonable belief that a
condition of community supervision has been violated as alleged in the motion
to revoke.&nbsp; See Cobb v. State, 851
S.W.2d 871, 873 (Tex. Crim. App. 1993).&nbsp;
Proof of any one alleged violation is sufficient to support an order
revoking community supervision. See O'Neal v. State, 623
S.W.2d 660, 661 (Tex. Crim. App. 1981).&nbsp;
The trial court is the exclusive judge of the credibility of the
witnesses and determines if the allegations in the motion are sufficiently
demonstrated.&nbsp; See Greer v. State, 999
S.W.2d 484, 486 (Tex. App.BHouston
[14th Dist.] 1999, pet. ref=d).&nbsp; We review the evidence in the light most
favorable to the trial court=s
order.&nbsp; Id.








In
the instant case, the record reflects that Chapman failed to make support
payments as ordered.&nbsp; Although Chapman
argues that the evidence is Aclear,
direct and positive@ that he Ais indigent and totally lacked the
ability to pay any child support[,]@
such an argument is an affirmative defense to a contempt allegation, see Tex. Fam. Code Ann. ' 157.008(c)(1) (Vernon 2002), a matter
which, as set forth above, we are without jurisdiction to consider.&nbsp; See R.J. Nunley, 647 S.W.2d at
952.&nbsp; We iterate that the only question
presented in an appeal from an order revoking community supervision is whether
the trial court abused its discretion in revoking the defendant=s community supervision.&nbsp; See Lloyd, 574 S.W.2d at 160.&nbsp; Moreover, proof of any one alleged violation
is sufficient to support an order revoking community supervision. See O'Neal,
623 S.W.2d at 661.&nbsp; Therefore, we hold
that since the record reflects that Chapman admittedly did not make child
support payments as ordered, the trial court did not abuse its discretion in
revoking his community supervision.&nbsp; The
remaining portion of Chapman=s
sole issue is overruled.

&nbsp;

Disposition

We
dismiss for want of jurisdiction the portions of Chapman=s sole issue concerning the propriety
of the trial court=s
contempt order.&nbsp; Having overruled the
remainder of Chapman=s
sole issue, we affirm the trial court=s
order revoking Chapman=s
community supervision.

&nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp; &nbsp;SAM GRIFFITH &nbsp;&nbsp;

&nbsp;&nbsp; Justice

&nbsp;

&nbsp;

Opinion delivered February 15,
2006.

Panel
consisted of Worthen, C.J., Griffith, J., and DeVasto, J.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (PUBLISH)











[1]
Specifically, the trial court found that Chapman
violated the terms of his conditional release as follows: (1) failing to pay
child support as ordered; (2) failing to attend AA meetings during January 2005
as ordered; (3) failing to keep a log of his AA attendance beginning January 5,
2005; and (4) failing to present a log for one A.A. meeting per week at each
court proceeding beginning January 5, 2005.





[2]
Contempt proceedings are quasi‑criminal in
nature.&nbsp; Ex parte Cardwell, 416
S.W.2d 382, 384 (Tex.1967). This rule applies to a contempt proceeding based on
failure to make child support payments.&nbsp; See
Ex parte Davis, 161 Tex. 561, 344 S.W.2d 153, 156 (Tex. 1961).&nbsp; As such, proceedings in contempt cases should
conform as nearly as practicable to those in criminal cases.&nbsp; See Ex parte Sanchez, 703
S.W.2d 955, 957 (Tex. 1986).&nbsp; As such,
where applicable, we are guided by elements of criminal jurisprudence.







